                     Case: 3:13-cr-00433-JGC Doc #: 43 Filed: 12/02/14 1 of 5. PageID #: 344
AO 245B       (Rev. 09/11) Judgment in a Criminal Case
              6KHHW



                                          81,7('67$7(6',675,&7&2857
                                                         NORTHERN DISTRICT OF OHIO
             81,7('67$7(62)$0(5,&$                                                 JUDGMENT IN A CRIMINAL CASE
                                  v.
                           Miranda Parr                                               &DVH1XPEHU 3:13CR00433-002
                                                                                      8601XPEHU 71708-061

                                                                                       Greg Geist
                                                                                      'HIHQGDQW¶V$WWRUQH\
THE DEFENDANT:
✔SOHDGHGJXLOW\WRFRXQW V
G                                      1 ,33, 35 of the indictment
G SOHDGHGQRORFRQWHQGHUHWRFRXQW V
  ZKLFKZDVDFFHSWHGE\WKHFRXUW
G ZDVIRXQGJXLOW\RQFRXQW V
  DIWHUDSOHDRIQRWJXLOW\

7KHGHIHQGDQWLVDGMXGLFDWHGJXLOW\RIWKHVHRIIHQVHV

Title & Section                   Nature of Offense                                                                           Offense Ended                           Count

 18:286                             CONSPIRACY                                                                                   04/2012                               1

 18:287                            FALSE, FICTITIOUS OR FRAUDULENT CLAIMS                                                        01/16/2012                            33

 18:287                            FALSE, FICTITIOUS OR FRAUDULENT CLAIMS                                                        01/17/2012                            35




   See additional count(s) on page 2


      7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHV 2 WKURXJK 5              RIWKLVMXGJPHQW The sentence is impRVHGSXUVXDQWWo the
6HQWHQFLQJ5HIRUP$FWRI
G 7KHGHIHQGDQWKDVEHHQIRXQGQRWJXLOW\RQFRXQW V
✔&RXQW V
G              See Below***                                G LV      ✔DUHdismiVVHGRQWKHPRWLRQRIWKH8QLWHG6WDWHV
                                                                     G
         ,WLVRUGHUHGWKDWWKHGHIHQGDQWPXVWQRWLI\WKH8QLWHG6WDWHVDWWRUQH\IRUWKLVGLVWULFWZLWKLQGD\VRIDQ\FKDQJHRIQDmeUHVLGHQFH
RUPDLOLQJDGGUHVVXQWLODOOILQHVUHVWLWXWLRQFRVWVDQGVSHFLDODVVHVVPHQWVLPSRVHGE\WKLVMXGJPHQWDUHIXOO\SDLG If RUGHUHGWRSD\UHVWLWXWLRQ
                                                                                                                            
WKHGHIHQGDQWPXVWQRWLI\WKHFRXUWDQG8QLWHG6WDWHVDWWRUQH\RIPDWHULDOFKDQJHVLQHFRQRPLFFLUFXPVWDQFHV

                                                                           12/1/14
                                                                            'DWHRI,PSRVLWLRQRI-XGJPHQW
     %JTNJTTFEDPVOUT
              
                                                                          s/James G.Carr
                                                                           Signature of Judge


                                                                           James G. Carr, Sr. U.S. District Judge
                                                                            1DPHRI-XGJH7LWOHRI-XGJH


                                                                           12/2/2014
                                                                            'DWH
                          Case: 3:13-cr-00433-JGC Doc #: 43 Filed: 12/02/14 2 of 5. PageID #: 345
   AO 245B         (Rev. 09/11) Judgment in a Criminal Case
                  6KHHW²3UREDWLRQ

                                                                                                                          Judgment Page: 2 of 5
     '()(1'$17 Miranda Parr
     &$6(180%(5 3:13CR00433-002
                                                                    PROBATION
     7KHGHIHQGDQWLVKHUHE\VHQWHQFHGWRSUREDWLRQIRUDWHUPRI

      two years.




     7KHGHIHQGDQWVKDOOQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH
     7KHGHIHQGDQWVKDOOQRWXQODZIXOO\SRVVHVVDFRQWUROOHGVXEVWDQFHThe defendant shall refrain from an\XQODZIXOXVHRIDFRQWUROOHG
     VXEVWDQFHThe defendant shall submit to RQHGUXJWHVWZLWKLQGD\VRISODFHPHQWRQSUREDWLRQDQGDWOHDVWWZRSHULRGLFGUXJWHVWV
     WKHUHDIWHUDVGHWHUPLQHGE\WKHFRXUW
     ✔ 7KHDERYHGUXJWHVWLQJFRQGLWLRQLVVXVSHQGHGEDVHGRQWKHFRXUW¶VGHWHUPLQDWLRQWKDWWKHGHIHQGDQWSRVHVDORZULVNRI
     G
           IXWXUHVXEVWDQFHDEXVH(Check, if applicable.)
     ✔ 7KHGHIHQGDQWVKDOOQRWSRVVHVVDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUDQ\RWKHUGDQJHURXVZHDSRQ(Check, if applicable.)
     G
     ✔ 7KHGHIHQGDQWVKDOOFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU(Check, if applicable.)
     G
     G 7KHGHIHQGDQWVKDOOFRPSO\ZLWKWKHUHTXLUHPHQWVRIWKH6H[2IIHQGHU5HJLVWUDWLRQDQG1RWLILFDWLRQ$FW 86&et seq
           DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKH%XUHDXRI3ULVRQVRUDQ\VWDWHVH[RIIHQGHUUHJLVWUDWLRQDJHQF\LQZKLFKKHRUVKHUHVLGHV
           ZRUNVLVDVWXGHQWRUZDVFRQYLFWHGRIDTXDOLI\LQJRIIHQVH(Check, if applicable.)
     G 7KHGHIHQGDQWVKDOOSDUWLFLSDWHLQDQDSSURYHGSURJUDPIRUGRPHVWLFYLROHQFH(Check, if applicable.)
            ,IWKLVMXGJPHQWLPSRVHVDILQHRUUHVWLWXWLRQLWLVDFRQGLWLRQRISUREDWLRQWKDWWKHGHIHQGDQWSD\LQDFFRUGDQFHZLWKWKH6FKHGXOHRI
     3D\PHQWVVKHHWRIWKLVMXGJPHQW
              7KHGHIHQGDQWPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVWKDWKDYHEHHQDGRSWHGE\WKLVFRXUWDVZHOODVZLWKDQ\DGGLWLRQDO F RQGLWLRQV
     RQWKHDWWDFKHGSDJH

                                              STANDARD CONDITIONS OF SUPERVISION
            WKHGHIHQGDQWVKDOOQRWOHDYHWKHMXGLFLDOGLVWULFWZLWKRXWWKHSHUPLVVLRQRIWKHFRXUWRUSUREDWLRQRIILFHU
            WKHGHIHQGDQWVKDOOUHSRUWWRWKHSUREDWLRQRIILFHULQDPDQQHUDQGIUHTXHQF\GLUHFWHGE\WKHFRXUWRUWKH
             SUREDWLRQRIILFHU
            WKHGHIHQGDQWVKDOODQVZHUWUXWKIXOO\DOOLQTXLULHVE\WKHSUREDWLRQRIILFHUDQGIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHU
            WKHGHIHQGDQWVKDOOVXSSRUWKLVRUKHUGHSHQGHQWVDQGPHHWRWKHUIDPLO\UHVSRQVLELOLWLHV
            WKHGHIHQGDQW shall comply with the Northern District of Ohio Offender Employment Policy which may include participation in
             training, education, counseling and/or daily job search as directed by the pretrial services and probation officer. If not in compliance
              with the condition of supervision requiring full-time employment at a lawful occupation, the defendant may be directed to perform up
             to 20 hours of community service per week until employed, as approved or directed by the pretrial services and probation officer.
             WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWWHQGD\VSULRUWRDQ\FKDQJHLQUHVLGHQFHRUHPSOR\PHQW
            WKHGHIHQGDQWVKDOOUHIUDLQIURPH[FHVVLYHXVHRIDOFRKRODQGVKDOOQRWSXUFKDVHSRVVHVVXVHGLVWULEXWHRUDGPLQLVWHUDQ\FRQWUROOHG
              VXEVWDQFHRUDQ\SDUDSKHUQDOLDUHODWHGWRDQ\FRQWUROOHGVXEVWDQFHVH[FHSWDVSUHVFULEHGE\DSK\VLFLDQ
            WKHGHIHQGDQWVKDOOQRWIUHTXHQWSODFHVZKHUHFRQWUROOHGVXEVWDQFHVDUHLOOHJDOO\VROGXVHGGLVWULEXWHGRUDGPLQLVWHUHG
            WKHGHIHQGDQWVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQVHQJDJHGLQFULPLQDODFWLYLW\DQGVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQFRQYLFWHGRID
             IHORQ\XQOHVVJUDQWHGSHUPLVVLRQWRGRVRE\WKHSUREDWLRQRIILFHU
           WKHGHIHQGDQWVKDOOSHUPLWDSUREDWLRQRIILFHUWRYLVLWKLPRUKHUDWDQ\WLPHDWKRPHRUHOVHZKHUHDQGVKDOOSHUPLWFRQILVFDWLRQRIDQ\
             FRQWUDEDQGREVHUYHGLQSODLQYLHZRIWKHSUREDWLRQRIILFHU
           WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQ RIILFHUZLWKLQVHYHQW\WZRKRXUVRIEHLQJDUUHVWHGRUTXHVWLRQHGE\DODZHQIRUFHPHQWRIILFHU
           WKHGHIHQGDQWVKDOOQRWHQWHULQWRDQ\DJUHHPeQWWRDFWDVDQ LQIRUPHURUDVSHFLDODJHQWRIDODZHQIRUFHPHQWDJHQF\ZLWKRX WWKH
             SHUPLVVLRQRIWKHFRXUWDQG
           DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKHGHIHQGDQWVKDOOQRWLI\WKLUGSDUWLHVRIULVNVWKDWPD\EHRFFDVLRQHGE\WKHGHIHQGDQW¶VFULPLQDO
             UHFRUGRUSHUVRQDOKLVWRU\RUFKDUDFWHULVWLFVDQGVKDOOSHUPiWWK HSUREDWLRQRIILFHUWR mDNHVXFKQRWLILFDWLRQVDQGWRFRQILUP WKH
             GHIHQGDQW¶VFRPSOLDQFHZLWKVXFKQRWLILFDWLRQUHTXLUHPHQW
"Upon finding of a violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of supervision,
and/or (3) modify the conditions of supervision. These conditions have been read to me. I fully understand the conditions and have been provided a copy
of them."
Dated:_____________________                   ________________________________________                   ________________________________________
                                               Defendant                                                 U.S. Probation Officer
                   Case: 3:13-cr-00433-JGC Doc #: 43 Filed: 12/02/14 3 of 5. PageID #: 346
AO 245B     (Rev. 09/11) Judgment in a Criminal Case
            6KHHW&²3UREDWLRQ

                                                                                                       Judgment Page: 3 of 5
 '()(1'$17 Miranda Parr
 &$6(180%(5 3:13CR00433-002

                                         SPECIAL CONDITIONS OF SUPERVISION
  Financial Disclosure
  The defendant shall provide the U.S. Pretrial Services & Probation Officer with access to any requested financial
  information.

  Employment
  The defendant shall comply with the Northern District of Ohio Offender Employment Policy which may include participation
  in training, education, counseling, and/or daily job search as directed by the U.S. Pretrial Services & Probation Officer. If
  not in compliance with the condition of supervision requiring full-time employment at a lawful occupation, the defendant
  may be directed to perform up to 20 hours of community service per week until employed, as approved or directed by the
  U.S. Pretrial Services & Probation Officer.
                    Case: 3:13-cr-00433-JGC Doc #: 43 Filed: 12/02/14 4 of 5. PageID #: 347
AO 245B      (Rev. 09/11) Judgment in a Criminal Case
             6KHHW²&ULPLQDO0RQHWDU\3HQDOWLHV

                                                                                                                   Judgment Page: 4 of 5
 '()(1'$17 Miranda Parr
 &$6(180%(5 3:13CR00433-002
                                               CRIMINAL MONETARY PENALTIES
      7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

                       Assessment                                      Fine                                       Restitution
 TOTALS            $ 300.00                                          $ 0.00                                 $ 0.00


 G7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO$QAmended Judgement in a Criminal Case (AO 245C) ZLOOEHHQWHUHG
     DIWHUVXFKGHWHUPLQDWLRQ

 G 7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQ LQFOXGLQJFRPPXQLW\UHVWLWXWLRQ WRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ
     ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVHLQ
     WKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ+RZHYHUSXUVXDQWWR86& L DOOQRQIHGHUDOYLFWLPsPXVWEHSDLG
     EHIRUHWKH8QLWHG6WDWHVLVSDLG

 Name of Payee                                                    Total Loss*                Restitution Ordered            Priority or Percentage




TOTALS                                                                              $0.00                           $0.00
      See page 5A for additional criminal monetary conditions.
G     5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW

G     7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUHWKH
      ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86& I $OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
      WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86& J 

G     7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW

      G WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRUWKH          G ILQH     G UHVWLWXWLRQ
      G WKHLQWHUHVWUHTXLUHPHQWIRUWKH          G ILQH    G UHVWLWXWLRQLVPRGLILHGDVIROORZV


 )LQGLQJVIRUWKHWRWDODPRXQWRIORVVHVDUHUHTXLUHGXQGHU&KDSWHUV$$DQG$RI7LWOHIRr RIIHQVHVFRPPLWWHGRQRUDIWHU
                                                                                                                 
6HSWHPEHUEXWEHIRUH$SULO
                    Case: 3:13-cr-00433-JGC Doc #: 43 Filed: 12/02/14 5 of 5. PageID #: 348
AO 245B      (Rev. 09/11) Judgment in a Criminal Case
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                                                                                                                              Judgment Page: 5 of 5
'()(1'$17 Miranda Parr
&$6(180%(5 3:13CR00433-002

                                                        SCHEDULE OF PAYMENTS

+DYLQJDVVHVVHGWKHGHIHQGDQW¶VDELOLW\WRSD\SD\PHQWRIWKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVLVGXHDVIROORZV

A    G /XPSVXPSD\PHQWRI                                   GXHLPPHGLDWHO\EDODQFHGXH

          G      QRWODWHUWKDQ                                      RU
          G      LQDFFRUGDQFH          G &        G '        G      (RU     G )EHORZRU
B    G 3D\PHQWWREHJLQLPPHGLDWHO\ PD\EHFRPELQHGZLWK                     G &        G 'RU       G )EHORZ RU
C    G 3D\PHQWLQHTXDO                             (e.g., weekly, monthly, quarterly) LQVWDOOPHQWVRI                            RYHUDSHULRGRI
                          (e.g., months or years)WRFRPPHQFH                       (e.g., 30 or 60 days)DIWHUWKHGDWHRIWKLVMXGJPHQWRU

D    G 3D\PHQWLQHTXDO                             (e.g., weekly, monthly, quarterly)LQVWDOOPHQWVRI                         RYHUDSHULRGRI
                          (e.g., months or years)WRFRPPHQFH                       (e.g., 30 or 60 days)DIWHUUHOHDVHIURPLPSULVRQPHQWWRD
          WHUPRIVXSHUYLVLRQRU

E    G 3D\PHQWGXULQJWKHWHUPRIVXSHUYLVHGUHOHDVHZLOOFRPPHQFHZLWKLQ                    (e.g., 30 or 60 days)DIWHUUHOHDVHIURP
          LPSULVRQPHQW7KHFRXUWZLOOVHWWKHSD\PHQWSODQEDVHGRQDQDVVHVVPHQWRIWKHGHIHQGDQW¶VDELOLW\WRSD\DWWKDWWLPHRU

F    ✔ 6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV
     G
           [✔] A special assessment of $ ____________
                                          300                                                    1,33 and 35.
                                                       is due in full immediately as to count(s) _________________________________.
           Mailed payments are to be sent and made payable to the Clerk, U.S. District Court, 801 West Superior Ave., Cleveland, OH 44113-1830.

          [ ] After the defendant is released from imprisonment, and within 30 days of the commencement of the term of supervised release, the probation
          officer shall recommend a revised payment schedule to the Court to satisfy any unpaid balance of the restitution. The Court will enter an order
          establishing a schedule of payments.


8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLIWKLVMudgmeQWLPSRVHVLPSULVRQPHQWSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHVLVGXHGXULQJ
LPSULVRQPHQW$OOFULPLQDOPRQHWDU\SHQDOWLHVH[FHpW WKRVH SD\PHQWVP DGHWKURXJKWKH)HGHUDO%XUHDXRI3ULVRQV¶,QPaWH)LQDQFLDO
5HVSRQVLELOLW\3URJUDPDUHPDGHWRWKHFOHUNRIWKHFRXUW

7KHGHIHQGDQWVKDOOUHFHLYHFUHGLWIRUDOOSD\PHQWVSUHYLRXVO\PDGHWRZDUGDQ\FULPLQDOPRQHWDU\SHQDOWLHVLPSRVHG



G -RLQWDQG6HYHUDO
     'HIHQGDQWDQG&R'HIHQGDQW1DPHVDQG&DVH1XPEHUV(including defendant number)7RWDO$PRXQW-RLQWDQG6HYHUDO$PRXQW
     DQGFRUUHVSRQGLQJSD\HHLIDSSURSULDWH




G 7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ
G 7KHGHIHQGDQWVKDOOSD\WKHIROORZLQJFRXUWFRVW V 
G 7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV



3D\PHQWVVKDOOEHDSSOLHGLQWKHIROORZLQJRUGHU  DVVHVVPHQW  UHVWLWXWLRQSULQFLSDO  UHVWLWXWLRQLQWHUHVW  ILQHSULQFLSDO
  ILQHLQWHUHVW  FRPPXQLW\UHVWLWXWLRQ  SHQDOWLHVDQG  FRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQGFRXUWFRVWV
